         Case 1:21-cv-01700-CL           Document 38      Filed 09/22/22      Page 1 of 18




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                     MEDFORD DIVISION




KLAMATH COMMUNITY COLLEGE,                                            Case No. 1:21-cv-01700-CL

                      Plaintiff,

               V.
                                                                               FINDINGS AND
                                                                           RECOMMENDATION



UNITED STATES DEPARTMENT OF
VETERANS AFFAIRS and
DENIS MCDONOUGH, in his official capacity as
Secretary of the U.S. Dept. of Veterans Affairs,

                      Defendant.


CLARKE, Magistrate Judge.

       Plaintiff Klamath Community College ("KCC") brings this cause of action against the

United States Department of Veteran's Affairs ("VA") under the Administrative Procedures Act

and the United States Constitution. The defendant VA moves to dismiss the case for lack of a final

agency action and for failing to state   a cognizable claim for relief.   For the reasons below, the

motion (#26) should be DENIED.




Page 1 - FINDINGS AND RECOMMENDATION
         Case 1:21-cv-01700-CL         Document 38       Filed 09/22/22      Page 2 of 18




                                         BACKGROUND

       Plaintiff KCC challenges Defendant VA' s efforts to recover approximately $1.3 million

in flight-school tuitions VA paid to KCC under the Post-9/11 G.I. Bill. KCC alleges that the

process VA is using to pursue recovery of these payments is procedurally and substantively
                                                  I

defective because VA has not provided KCC an administrative procedure called the School

Liability Process ("SLP"). The Amended Complaint asserts claims under the Administrative

Procedure Act ("AP A") and a separate claim under the Fifth Amendment Due Process Clause.

   1. Statutory and Regulatory Background

       a. VA benefits and overpayments

       The Post-9/11 Veterans Educational Assistance Act of2008 ("Post-9/11 G.I. Bill")

provides eligible veterans with education benefits. These benefits include tuition, and money for

housing and books. 38 U.S.C. §§ 3301 et seq. VA sends money directly to veterans for housing

and books, and pays tuition benefits directly to schools, as required by law. 38 U.S.C. § 3313(h).

Veterans can use these education benefits for flight training at a public college or university. 38

U.S.C. § 3313(g)(3)(C).

       VA can recover overpayments of education benefits. 3 8 U.S.C. § 3685. Section 1.911 of

title 38, Code of Federal Regulations, specifies the process by which VA generally recovers

debts resulting from overpayment of VA benefits, including education benefits. This process

includes written notice of the amount of the debt, the reasons for the debt, the right to request

waiver or a hearing on the debt, and the right to appeal the decision underlying the debt. 3 8

C.F.R. § 1.911.

       Section 1.911 (a) specifies that a separate administrative process - the SLP - applies to

"school liability" debts. In the SLP, a Committee on School Liability (the "Committee")




Page 2 - FINDINGS AND RECOMMENDATION
         Case 1:21-cv-01700-CL         Document 38       Filed 09/22/22     Page 3 of 18



determines liability via an administrative process that includes additional steps as compared to

38 C.F.R. § 1.911. These steps include (1) a prehearing conference to discuss the record upon

which potential liability is based; (2) a hearing with testimony and evidence before a panel of the

Committee; (3) a written decision by the Committee; and (4) if the school disagrees with the

Committee's decision, &n appeal of any legal or factual errors to the School Liability Appeals

Board, which can reverse, affirm, modify, or remand the Committee's decision. See 38 C.F.R. §

21.4009; VA Manual M22-4 ("M22-4"), Part 1 §§ 7.09-7.12.

       b. The Treasury Offset Program

       Congress requires federal agencies to refer delinquent nontax debts to United States

Department of Treasury ("Treasury") for collection. 31 U.S.C. §§ 3716(c)(6), 3720A(a). To

collect referred debts, Treasury operates a centralized Treasury Offset Program ("TOP"). 31

C.F.R. § 285.5(a)(l). TOP reviews payees to see if they have referred debts. See id.§ 285.5(b)-

(d). If they do, Treasury offsets payment to the payee and pays that amount to the creditor

agency. Id.§ 285.5(£)-G).

       Creditor agencies must comply with certain procedures before referring a debt to

Treasury for collection by administrative offset to avoid erroneous deprivation. The procedures

include giving the debtor (1) written notice of the type and amount of the claim, the intention of

the head of the agency to collect the claim by administrative offset, and an explanation of the

rights of the debtor under this section; (2) an opportunity to inspect and copy the records of the

agency related to the claim; (3) an opportunity for a review within the agency of the decision

of the agency related to the claim; and (4) an opportunity to make a written agreement with the

head of the agency to repay the amount of the claim. 31 U.S.C. §§ 3716(a)(l)-(4); see also 31

U.S.C. § 3720A(b)(l) .. After creditor agencies complete these efforts without resolution of the




Page 3 - FINDINGS AND RECOMMENDATION
          Case 1:21-cv-01700-CL           Document 38        Filed 09/22/22      Page 4 of 18




debt, Treasury will notify the debtor of the offset, the identity qf the requesting creditor agency,

and who to contact within the creditor agency about the offset. 31 U.S.C. § 3716(c)(7); 31 C.F.R.

§ 285.5(g)(3).

    2. Factual Background 1

        Some KCC students receive education benefits under the Post-9/11 G.I. Bill. FAC , 2.

KCC's aviation flight programs included the following AAS Degrees (collectively, the "KCC

Aviation Programs"): (1) Aviation Science Airplane AAS; and (2) Aviation Science Helicopter

AAS. FAC, 25; Scott Deel., 2. In order for veteran students to use Post- 9/11 G.I. Bill benefits

to pay for a particular course of education, that course must be approved. FAC ,i 24. In Oregon,

the VA delegated its authority to· approve and monitor programs to Oregon's Higher Education

Coordinating Commission SAA ("Oregon's SAA"). See 38 U.S. Code§ 3671; FAC ,i 3; Scott

Deel. ,i 4. KCC received approval for the KCC Aviation Programs :from both Oregon's SAA and

the VA for all relevant time periods. FAC ,i 26; Scott Deel. ,i 5.

        Although it varies by year, the VA conducts compliance surveys (i.e., audits) of the

programs and recipients subject to funding from the Post-9/11 G.I. Bill. KCC claims that, from

at least 2014 to 2016, KCC's annual compliance surveys did not indicate any material

discrepancies in the KCC Aviation Programs or the existence of any alleged overpayments of

Post-9/11 G.I. Bill benefits. FAC ,i,i 26, 31, 32; Scott Deel., 6. On June 29, 2017, Mr. Stewart

Land-an Education Compliance Survey Specialist ("CSS") from the VA's Muskogee office-

notified KCC that he was taking over the school's ongoing Annual Compliance Survey and

would begin the survey on July 17, 2017. FAC ,i 34. In addition, he requested documents dating




1
 For purposes of this motion, the Court will assume the facts are true as pied in the First Amended
Complaint ("FAC") (#25), except where a dispute of fact is noted.


Page 4 - FINDINGS AND RECOMMENDATION
           Case 1:21-cv-01700-CL        Document 38      Filed 09/22/22     Page 5 of 18




back to 2013-a time period already subjected to an Annual Compliance Survey. FAC ~ 34;

Scott Deel. ~ 7.

          On or about July 17-20, 2017, the VA conducted the Annual Compliance survey at KCC

(the "July 2017 Compliance Survey") related to the KCC Aviation Programs. FAC ~ 36; Scott

Deel.~ 8. On July 31, 2017, the VA directed Oregon's SAA to suspend the KCC Aviation

Programs. Scott Deel.~ 9. On August 1, 2017, the CSS emailed KCC stating that the VA would

not issue any status letter relating to the 201 7 Compliance Survey until it was complete, and that

any disagreement regarding the survey findings would be discussed "at the exit interview." FAC

~   38. KCC claims no exit interview was ever conducted. FAC~ 39.

          On January 3, 2018, KCC learned that its Aviation Programs were approved and

reinstated by the SAA. FAC ~ 41. However, on January 18, 2018, VA sent a letter to KCC citing

ten categories of alleged discrepancies in their programs but did not identify any veteran students

in the letter. FAC~ 42; Scott Deel.,~ 10.

          On April 3, 2018, the VA issued KCC an additional report, (the "April Detailed

Compliance Letter"), to provide information concerning the individual discrepancies listed in the

VA's findings letter of January 18, 2018. FAC ~ 44. The April Detailed Compliance Letter

stated:

                 After [Mr. Land's] consultation with Coach Sherry Scott on October
                 27, 2017, the decision was made that no benefits (for any class)
                 should be paid for any VA student enrolled in any of the flight
                 degree programs for any period beginning on or after November 1,
                 2015.
FAC~ 45.

          Starting in March 2018, VA sent multiple letters notifying KCC of Post-9/11 G.I. Bill

tuition benefits that VA overpaid to KCC on behalf of29 students enrolled in flight school

training at KCC. FAC ~ 52. These letters were sent from the VA's Muskogee RO (the



Page 5 - FINDINGS AND RECOMMENDATION
           Case 1:21-cv-01700-CL         Document 38       Filed 09/22/22     Page 6 of 18




 "Muskogee Letters"). KCC claims that almost all of the Muskogee Letters provided an

 inapplicable reason for the overpayment. FAC 'if 52. For instance, on several occasions, the VA' s

 Muskogee RO would state that the reason the benefits were considered an overpayment was

· because: "The school submitted an amended [Form] 1999 showing a reduction in tuition and fee

 charges or a reduction in Yellow Ribbqn amount, or both." FAC 'if 53. A Form 1999 is used to

 alert the VA that a student's enrollment has changed. Id. KCC claims that in almost all cases,

 KCC never actually submitted a Form 1999 for the student in question. Id. Importantly, none of

 the Muskogee Letters indicated if the alleged overpayments were connected to the 2017

 Compliance Survey. FAC 'if 54

         Within a month of the Muskogee Letters, the Debt Management Center ("DMC"), which

 is the collection division of the VA, started sending letters to KCC. FAC 'if 55. The letters stated:

                 The . Department of Veteran Affairs recently notified you that
                 education benefits were adjusted due to non-entitlement. Since the
                 funds for this enrollment were sent directly to the school, we ask
                 that you return these funds.

 FAC 'if 55. XCC claims that nothing in any of the correspondence specified any reason for why

 KCC was being held liable for the alleged overpayment. Id.

         On or about June 18, 2018, KCC received a letter from the VA responding to a letter

 from KCC in April 2018. FAC 'if 57. The VA's letter indicated that the Muskogee RO had

 unilaterally declared the debt "valid." FAC 'if 57; Scott Deel. 'if 16. KCC claims that it continued

 to present additional arguments and disputes to the VA. KCC received a response letter from the

 DMC on February 14, 2019, issuing a blanket denial to reconsider the alleged debt. This letter

 was sent by Mr. Land-the same person that had conducted the 2017 Compliance Survey. FAC 'if

 58; Scott Deel. 'if 17.




 Page 6 - FINDINGS AND RECOMMENDATION
         Case 1:21-cv-01700-CL           Document 38        Filed 09/22/22      Page 7 of 18



        On November 22, 2019, the VA sent yet another letter stating that the VA had notified

the DMC that the "review of compliance findings is complete, and the debts established as a

result of the compliance survey are valid." PAC~ 59; Scott Deel.,~ 24.

        On December 31, 2020, KCC issued a letter to the VA reiterating its disagreements with
                                                                                                 I


the findings of the 2017 Compliance Survey. In that letter, KCC submitted a rebuttal for each

individual student for whom the VA claimed a debt was owed. Martinson Deel.,~ 5. KCC

claims the VA has never responded to the December 31, 2020, letter and has not provided KCC

with the School Liability Process as outlined by the regulations. Martinson Deel., ~ 6.

        Between February 26, 2020, and April 30, 2021, VA referred KCC's Tuition

Overpayments to TOP for collection. 2 Lawrence Deel.,~ 3. Between March 16, 2020, and

November 19, 2021, Treasury offset KCC funds totaling $83,073.12 (the "Offset") and credited

the amount to VA for the Tuition Overpayments. Id.

        On November 24, 2021, KCC filed the case at bar against the VA and the Treasury. On

January 12, 2022, VA, through counsel, offered to refund KCC the Offset and provide KCC the

SLP for the Tuition Overpayments. On April 1, 2022, and April 6, 2022, VA refunded KCC

$83,130.11. Lawrence Deel.,~ 4. Currently no portion of the Tuition Overpayments is referred to



2
  Collection of the debt was paused for a time. On June 9, 2020, in response to KCC's repeated disputes
related to the debt, the VA's Chief of Operations of the V-A's Debt Management Center issued a letter to
KCC stating:
                  Due to the COVID-19 situation, DMC has temporarily paused collections
                · through the Department of Treasury's Offset Program (TOP) for all debts
                  owed to VA. DMC continues to send collection letters to schools,
                  including the third collection letter regarding referral to TOP within sixty
                  days; however, schools are not being offset at this time. DMC continues
                  to evaluate the situation with COVID-19 and has not yet set a date for TOP
                  collections to resume. DMC will update our website . . . with this
                  information when a determination is made.

FAC, Ex. 2 [ECF #25-2]. KCC claims VA never provided KCC with any notice that collection of the
alleged debt was going to be activated again. Scott Deel., ,r 22.


Page 7 - FINDINGS AND RECOMMENDATION

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         Case 1:21-cv-01700-CL          Document 38       Filed 09/22/22     Page 8 of 18




TOP for collection. Id., ,r 5. On April 11, 2022, VA sent KCC a letter confirming that "VA's

offer to provide KCC the SLP remains open." Glenn Deel., Ex. 1. In documents submitted to this

Court by the VA, including a signed declaration, VA states that it "commits to adjudicate the

KCC Tuition Overpayments via the SLP and only collect the associated debt,.if any, upon a

finding ofliability by the Committee or the School Liability Appeals Board." Glenn Deel., ,r 8.

KCC moves to strike this declaration and the supporting letter from the record.

       On April 29, 2022, KCC filed an Amended Complaint against VA. KCC has dropped the

Treasury defendants from the case, but it continues to assert claims under the AP A and the Fifth

Amendment challenging VA's efforts to recover the Tuition Overpayments. It also asserts a

claim for injunctive relief. Am. Compl., ,r,r 96-134.

   3. VA's disputes and agreements with other Oregon community colleges

       KCC is not the only Oregon community college to request the VA apply the SLP to the

recovery of tuition overpayments for students enrolled in aviation programs. On April 10, 2020,

Central Oregon Community College ("COCC") sued VA demanding VA provide it "the School

Liability Process with respect to all alleged overpayments-for tuition as well as housing and

book allowances .... " D. Or. No. 6:20-cv-00594-MK, ECF 1 at 27. VA claims that it denied that

COCC's tuition overpayments should be submitted to the SLP because, same as here, VA paid

the tuition benefits directly to the school. See M22-4, Part 1 § 7.05 n.2 ("Payments made directly

to the school should not be included in the review of potential school liability .... "). However, ·

VA had referred to the SLP books and housing overpayments paid directly to COCC students to

determine if COCC should be liable for those payments. Because adjudication of the books and

housing overpayments involved overlapping students and issues as the tuition overpayments, and

"to avoid unnecessary litigation," VA agreed to submit COCC's disputed tuition overpayments




Page 8 - FINDINGS AND RECOMMENDATION
         Case 1:21-cv-01700-CL         Document 38      Filed 09/22/22     Page 9 of 18



to the SLP and suspend collection of the overpayments pending completion of that process. See

D. Or. No. 6:20-cv-00594-MK, ECF 37 at 7 (§ 1.1) ("Plaintiff agrees to dismiss the Complaint

against all Defendants ... and Defendant VA agrees to provide Plaintiff the [SLP]."). VA also

agreed to "withdraw all debt notice and collection referrals for the Tuition Debt" and to "not

refer any future debt notices for the Tuition Debt or the Books and Housing Debt ... to any

agency or third party for collection until the time for [COCC] to appeal to the [School Liability

Appeals Board] ... has passed without an appeal being filed or the process set forth in § 1.3 of

this Agreement is complete." Id. at 8 (§ 1.4). This settlement agreement resolved COCC's

lawsuit, and COCC dismissed the case on September 21, 2021.

       In October 2021, Treasury offset over $1.8 million that Portland Community College ·

("PCC") received under the American Rescue Plan Act of 2021 and credited it to VA for tuition

overpayments. PCC, through its counsel, promptly contacted VA about the offset and requested

that the overpayments be submitted to the SLP. In a letter signed and dated November 15, 2021,

VA agreed to provide PCC the SLP for the tuition overpayments. Glenn Deel. Ex. 2 at 5. The

November 15 Letter explained that overpayments made directly to students for books and

housing are already subject to the SLP, while the tuition overpayments made directly to PCC are

not. But, "[b]ased on PCC's request and the overlap between the students and issues involved in

the debts based on books, housing stipend, tuition, and fees, VA agrees to use the SLP for the

2017- 18 debts regardless of whether payment was issued to the school or the student." Id. VA

also agreed to "refund the amounts offset by [Treasury] in October 2021 .. .."Id.at 6.

       Unlike COCC, PCC continues to litigate its claims that tuition overpayments must be

submitted to the SLP despite VA's agreement to provide PCC that process. On April 18, 2022,

VA filed a motion to dismiss PCC's Second Amended Complaint. See D. Or. No. 3:21-cv-




Page 9 - FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL          Document 38        Filed 09/22/22     Page 10 of 18




01658-AR, ECF 22. As part of its motion to dismiss, VA.confirmed that it "commits to

adj~dicate the Overpayments in the School Liability Process and only collect the associated

debts, if any, upon a finding of liability by the Committee on School Liability or the School

Liability Appeals Board." Glenn Deel. Ex 2 at 4. The motion to dismiss is currently under

advisement.

                                       LEGAL STANDARD

       A motion to dismiss under Fed. R. Civ. P. 12(b)(1) challenges the jurisdiction of the court

over the subject matter of the complaint. When
                                           .
                                               jurisdiction is challenged under Federal Rule .of

Civil Procedure 12(b)(1 ), the plaintiff has the burden of establishing jurisdiction. Safe Air for

Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). A 12(b)(l) motion may be either

"facial" or "factual." Id. A facial attack on subject matter jurisdiction is based on the assertion

that the allegations contained in the complaint are insufficient to invoke federal jurisdiction. Id.

"A jurisdictional challenge is factual where 'the challenger disputes the truth of the allegations

that, by themselves, would otherwise invoke federal jurisdiction."' Pride v. Correa, 719 F,3d

1130, 1133, n.6 (9th Cir. 2013) (quoting Safe Air for Everyone, 373 F.3d at 1039). "[N]o

presumptive truthfulness attaches to plaintiffs allegations" and the court may ''hear evidence

regarding jurisdiction and resolv[e] factual disputes where necessary." Robinson v. United States,

586 F.3d 683, 685 (9th Cir. 2009) (citation omitted); Safe Air for Everyone, 373 F.3d at 1039

("In resolving a factual attack on jurisdiction, the district court may review evidence beyond the

complaint without converting the motion to dismiss into a motion for summary judgment.").

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), "a

complaint must contain sufficient factual matter, accepted as true, 'to state a claim to relief that is

plausible on its face."' Ashcroft v. Iqbal, 556 U.S. 662,678 (2009) (quoting Bell At!. Corp. v.




Page 10 - FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL             Document 38      Filed 09/22/22     Page 11 of 18




Twombly, 550 U.S. 544, 570 (2007)). "A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged." Iqbal, 556 U.S. at 678. A complaint may be dismissed when there is

"either a lack of a cognizable theory or the absence of sufficient facts alleged under a cognizable

legal claim." Ctr.for Cmty. Action & Envtl. Justice v. BNSF R. Co., 764 F.3d 1019, 1023 (9th

Cir. 2014) (quoting Hinds Investments, L.P. v. Angioli, 654 F.3d 846, 850 (9th Cir. 2011)).

                                             DISCUSSION

       I.      VA's 12(b)(l) motion to dismiss KCC's AP A claims should be denied.

       Plaintiff KCC brings three claims directly under the APA. The first alleges that "VA's

conclusion that KCC owes approximately $1.3 million (or any amount) in overpayments" is

arbitrary and capricious. FAC    ~   97 (First Claim for Relief). The second claims that "VA' s

ultimate determination that KCC owes approximately $1.3 million (or any amount) in

overpayments must be set aside" because the explanations for those findings are "inadequate."

Id.~~ 120-21 (Third Claim for Relief). The third claims that "VA's decision to retroactively

revoke its previous approval of the KCC Aviation Programs" is arbitrary and capricious. Id.           ~


127 (Fourth Claim for Relief).

       Defendant VA moves to dismiss these three claims fail for lack of a final agency action.

As discussed below, because VA sent letters declaring the debt "valid," referred the debt to the

Treasury's TOP, and accepted Treasury's offset of the funds on the debt, and cancelled KCC's
                                                                                                  '


aviation programs, the agency's actions can be considered "final" for purposes of this litigation.

Additionally, PlaintiffKCC claims, in part, that VA's decision not to provide the SLP was a

failure to act, which is an exception to the final decision requirement. The motion to dismiss

KCC' s AP A claims should be denied.




Page 11 - FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL         Document 38       Filed 09/22/22     Page 12 of 18



       The APA provides a limited waiver of the government's sovereign immunity for agency

decisions "made reviewable by statute and final agency action for which there is no other

adequate remedy in court." Gallo Cattle Co. v. US. Dep't ofAgric., 159 F.3d 1194, 1198 (9th
                                                                                         I
Cir. 1998) (quoting 5 U.S.C. § 704). "Section 704 reflects a congressional policy against

premature judicial intervention into the administrative process, and in favor of courts resolving

only disputes with concrete legal stakes." Inst. for Fisheries Res. v. Hahn, 424 F. Supp. 3d 740,

747 (N.D. Cal. 2019). "As a general matter, two conditions must be satisfied for agency action to

be 'final."' Bennett v. Spear, 520 U.S. 154, 177-78 (1997). First, "the action must mark the

'consummation' of the agency's decisionmaking process," and "must not be of a merely tentative

or interlocutory nature." Id. (citation omitted). Second, "the action must be one by which 'rights

or obligations have been determined,' or from which 'legal consequences will flow."' Id. at 178

(citation omitted).

       VA's actions satisfy the two conditions for finality in three ways. First, KCC alleges that

VA sent KCC multiple letters declaring the tuition overpayment debt "valid." On or about June

18, 2018, KCC received a letter from the VA declaring the debt "valid." Scott Deel.~ 16. On

February 14, 2019, the VA sent another letter issuing a blanket denial to reconsider the alleged

debt, and determined the debt was again "valid." Scott Deel.~ 19. On November 22, 2019, the

VA sent yet another letter stating that the VA had notified its debt collection division, the DMC,

that the "review of compliance findings is complete, and the debts established as a result of the

compliance survey are valid." Scott Deel.~ 24. These letters communicate to KCC that VA

would not be conducting any further process to determine the validity of the debt, thus they mark

the consummation of the agency's decisionmaking process.




Page 12 - FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL           Document 38       Filed 09/22/22      Page 13 of 18




       Second, VA referred the debt to DMC and then transferred the debt to the Tr~asury for

collection. Treasury's process is to offset the debt and begin collection efforts. Treasury

regulation 31 C.F.R. § 285.12(i) provides that "[b]efore a debt may be transferred to Fiscal

Service or another debt collection center, the [VA] must certify, in writing, that the debts being

transferred are valid, legally enforceable, and that there are no legal bars to collection."

Therefore, VA's transfer constitutes an action from which legal consequences will flow,

signaling that a final decision has been made as to the validity of the debt in the eyes of the

agency. While VA has now returned the offset funds to KCC pending further review, VA has

not formally revoked the certification that the debt is valid, therefore the legal status of the debt

is still collectible, and the legal consequences could still flow from the decision.

       Third, VA took action to revoke KCC's aviation programs. While this action was also

later reversed, KCC alleges that the revocation of the programs had immediate legal

consequences that changed the status of a federally funded program. This independently meets

the criteria requiring that the decision be one for which legal consequences will flow.

       In addition, KCC alleges the VA refused to offer any appeal process or hearing process

regarding the Tuition Overpayments until after litigation was initiated. VA continues to contend

in court filings that the type of debt at issue in this case is not actually subject to the SLP and that

VA is not required to provide such a process. The alleged failure of the VA to offer the SLP, or

any kind of process for disputing the Tuition Overpayments is an alleged failure to act, which

functions as an exception to the requirement for final agency action. See ONRC Action v. Bureau

of Land Mgmt., 150 F.3d 1132, 1137 (9th Cir. 1998), citing Independence Mining Co., Inc. v.

Babbitt, 105 F.3d 502,511 (9th Cir.1997); see also Al Otro Lado, Inc. v. Mayorkas, No. 17-CV-

02366-BAS-KSC, 2021 WL 3931890, at *8 (S.D. Cal. Sept. 2, 2021) (finding "no final agency




Page 13 - FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL         Document 38       Filed 09/22/22     Page 14 of 18




action is necessary" for plaintiffs claim that agency failed to act because "the Ninth Circuit has

given several indications that finality is not a consideration when evaluating § 706(1) claims").

Therefore, because KCC has alleged that VA failed to act, final agency action is not a

requirement for the Court to hear these claims.

       II.     VA's 12(b)(6) motion to dismiss for failure to state a claim should be denied.

       KCC has sufficiently stated a claim for relief under the due process clause of the United

States Constitution. The due process clause of the Fifth Amendment provides that "[n]o person

shall... be deprived of life, liberty, or property, without due process of law." U.S. Const. amend.

V. Generally, procedural due process requires adequate notice and a meaningful opportunity to be

heard at son:ie point before a right or interest is forfeited. See Mathews v. Eldridge, 424 U.S. 319

(1976). Courts give "property interests" broad meaning, including non-tangible interests like

"entitlement to the benefit created and defined by an independent source, such as state or federal

law or regulation." Higgins v. Spellings, 663 F. Supp. 2d 788, 793 (W.D. Mo. 2009).

       VA moves to dismiss the due process claim for three main reasons. First, while VA seems

to concede that KCC has a property interest in the funds at issue in this case, VA claims that KCC

has not adequately alleged that VA has deprived KCC of that funding because VA has refunded

the offset amounts. The Court disagrees. KCC has a property interest in its funding and in the

continuation of its previously approved aviation programs. Even with the return of the offset funds

and the reinstatement of its program, the allegations that VA deprived KCC of the funds and

cancelled the aviation program without proper notice and a hearing sufficiently states a claim for

deprivation of a constitutionally protected property interest under the due process clause.

       Second, VA asserts that KCC has not exhausted administrative remedies because the funds

were returned and the SLP is now available to KCC to retroactively dispute the debt. This




Page 14 - FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL            Document 38     Filed 09/22/22     Page 15 of 18



contention is merely a re-packaging of the arguments above claiming that there has not been any

final agency action. For the same reasons discussed above, VA's claim that KCC's due process

claim is unripe and unexhausted fails.

        Third, VA asserts that this action is moot. Federal courts lack jurisdiction to rule on moot

claims. Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992)). "A case becomes

moot whenever it los[es] its character as a present, live controversy of the kind that must exist if

[courts] are to avoid advisory opinions on abstract propositions of law." West v. Sec '.Y of Dep 't of

Transp., 206 F.3d 920, 924 (9th Cir. 2000) (quoting Hall v. Beals, 396 U.S. 45, 48 (1969)). The

basic question in determining mootness is whether there is a present controversy as to which

effective relief can be granted." Feldman v. Bomar, 518 F.3d 637, 642 (9th Cir. 2008) (internal

quotation omitted); see also Am. Rivers v. Nat'! Marine Fisheries Serv., 126 F.3d 1118, 1123 (9th

Cir. 1997) (determining that a challenge to a superseded biological opinion was moot). Even if an

action is not constitutionally moot, the court may dismiss a case as prudentially moot "if

circumstances have changed since the beginning of litigation that forestall any occasion for

meaningful relief." Deutsche Bank Nat. Tr. Co. v. FDIC, 744 F.3d 1124, 1135 (9th Cir. 2004)

(cleaned up). However, "[i]t is well settled that 'a defendant's voluntary cessation of a challenged

practice does not deprive a federal court of its power to determine the legality of the practice."'

Friends ofthe Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (quoting

City of Mesquite v. Aladdin's Castle, Inc., 455 U.S. 283, 289 (1982)). "If it did, the courts would

be compelled to leave the 'defendant free to return to his old ways."' Id. (quoting City ofMesquite,

455 U.S. at 283, and United States v. WT. Grant Co., 345 U.S. 629,632 (1953)).

        Here, VA claims that circumstances have changed to forestall any meaningful relief in this

case:




Page 15-FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL          Document 38        Filed 09/22/22     Page 16 of 18



               This case stems from KCC's contention that VA offset its funds
               without completing the SLP. But, as it has with both COCC and
               PCC, VA has agreed to refund KCC the Offset and submit the
               Tuition Overpayments to the SLP. Per that agreement, VA has
               refunded KCC over $83,000, and VA has committed to adjudicate
               the Tuition Overpayments via the SLP.

Def Mot. Dis. 21 (dkt. #26).

       KCC argues that its claim is not moot because VA continues to argue that the School

Liability Process is optional, it has failed to fully reverse the original liability determination, and

it has continued to engage in challenged conduct. The Court agrees. So long as the VA considers

the SLP optional, KCC cannot be assured that it will be given the entirety of the process it claims

that it is due under both the AP A and the due process clause. Moreover, the case cited by the VA

is distinguishable from the case at bar. See Heard v. United States Soc. Sec. Admin., 170 F. Supp.

3d 124, 132 (D.D.C. 2016). In Heard, the plaintiffs challenged the government's offset of

plaintiffs' tax refunds without notice or opportunity for a hearing. Id. at 127. There, the court

determined the case was moot only after the government refunded the offset taxes, and "waived

the underlying debt" in its entirety. Id Here, the VA has refunded the offset, but it has not

relinquished and waived any entitlement to recover the debt. Moreover, KCC raises claims

regarding the notices and hearings it was entitled to prior to any determination of the validity of

the debt. These claims are not resolved by VA's subsequent actions to grant KCC a refund or the

SLP process. KCC's claims are not moot, and VA's motion should be denied.

      · III.   VA's motion to dismiss KCC's claim for injunctive relief should be denied.

       First, VA asserts that KCC's claim for injunctive relief is not viable because VA has

confirmed that it will not collect the Tuition Overpayment debt prior to a final decision by the

Committee (i.e., after submitting to the SLP). Therefore, "there is no relief to be provided by a




Page 16 - FINDINGS AND RECOMMENDATION
        Case 1:21-cv-01700-CL         Document 38       Filed 09/22/22     Page 17 of 18




mandatory injunction." This argument fails for the same reasons above. Namely, VA continues

to consider the SLP optional, and it has not waived the agency's entitlement to collect the debt.

       Second, VA argues that "there is no claim for which the United States has waived

sovereign immunity thatwould allow for injunctive relief." That argument is contradicted by the

holding of Alameda Cniy. v. Weinberger, 520 F.2d 344 (9th Cir. 1975), in which the Ninth

Circuit upheld an order for injunctive relief against a government agency for taking the same

actions at issue in this case:- changing the approval status of a government program and trying to

retroactively claw back payments that the government had distributed years earlier.

       Third, VA claims that KCC has not alleged the requisite basis for injunctive relief.

Injunctive relief is an "extraordinary remedy" only available upon a showing of"irreparable

injury and the inadequacy oflegal remedies." Weinberger v. Romero-Barcelo, 456 U.S. 305,312

(1982). In APA cases, economic harm is considered to be an irreparable harm given that a party

would not be able to recover economic damages in the APA case. California v. Azar, 911 F.3d

558,_ 581 (9th Cir. 2018); 5 U.S.C. § 702 (permitting relief "other than money damages"); see

also Cottonwood Envtl. Law Ctr. v. U.S. Forest Serv., 789 F.3d 1075, 1091 (9th Cir. 2015)

(reaffirming that the harm flowing from a procedural violation can be irreparable). Here, KCC

has alleged economic harm, which can be irreparable in this type of case, and it has alleged harm

to KCC aviation students and the aviation program at KCC in general, which was shut down by

the actions of VA. These alleged harms form a sufficient basis for injunctive relief.

       Finally, VA challenges this claim because injunctive relief requires a showing of a real

threat of an imminent "future injury." Ervine v. Desert View Reg'! Med. Ctr. Holdings, LLC, 753

F.3d 862,868 (9th Cir. 2014) (quoting Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939,951

(9th Cir. 2011)). While VA has assured the parties and the Court that it will not offset any




Page 17 - FINDINGS AND RECOMMENDATION
         Case 1:21-cv-01700-CL          Document 38       Filed 09/22/22      Page 18 of 18




further funds without the SLP and a final determination by the Committee, KCC has raised a

sufficient question regarding past assurances by the VA. Specifically, KCC alleges that on June

9, 2020, the VA informed KCC that it would suspend all collection action on debts owed by

KCC. FAC, Ex. 2 (dkt. #25-2). However, the VA referred $1,138,812.06 of the Alleged

Tuition/Fees Debt to the Treasury for offset between February 26, 2020, and April 30, 2021.

Deel. of J.Lawrence; Def. Mot. to Dis., at ,r 3. Thus, despite assurance that the debt collection

would be suspended, the VA continued to refer the Alleged Tuition/Fees Debt to the Treasury.

Then, between October 2021, and November 2021, the Treasury offset $83,130.11 from KCC's

federal grant funds. Id. KCC claims that no notice or hearig was provided before the funds were

offset. Plaintiff KCC has raised a sufficient question of VA' s past and potential future actions to

allege a claim for injunctive relief.

                                        RECOMMENDATION

         For the foregoing reasons, VA's motion to dismiss (#26) should be denied.

         This Findings and Recommendation will be referred to a district judge. Objections, if any,

are due no later than fourteen (14) days after the date this recommendation is filed. If objections

are filed, any response is due within fourteen (14) days after the date the objections are filed. See

Fed. R. Civ. P. 72, 6. Parties are advised that the failure to file objections within the specified time

may waive the right to appeal the District Court's order. Martinez v. Tist, 951 F.2d 1153 (9th Cir.

1991).




                                                United States Magistrate Judge




Page 18 - FINDINGS AND RECOMMENDATION
